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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater        §
Horizon” in the Gulf of Mexico on April 20,       §      MDL No. 2179
2010.                                             §      SECTION “J”
                                                  §
                                                  §      JUDGE BARBIER
This Document Relates to:                         §
                                                  §      MAGISTRATE SHUSHAN
10-4239                                           §
10-4240                                           §
10-4241                                           §


                                          ORDER

       On this day came to be considered Plaintiffs’ Ex Parte (Unopposed) Motion for Leave to

File Sur-Reply in Opposition to Reply in Support of Motion of Defendant Anadarko Petroleum

Corporation to Dismiss the Complaints of the Mexican States (Pleading Bundle “C”), and good

cause being shown,


       IT IS ORDERED, that the requested leave to file the Sur-Reply in Opposition to Reply in

Support of Motion of Defendant Anadarko Petroleum Corporation to Dismiss the Complaints of

the Mexican States (Pleading Bundle “C”) is hereby GRANTED.


       New Orleans, Louisiana this the ______the day of _______________, 2011



                                                  _________________________
                                                  Hon. Carl J. Barbier
                                                  United States District Judge




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